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 5
     Attorney for Defendant
 6   OTONIEL CARDENAS-TORRES
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 1:16-cr-00094-LJO-SKO
12                     Plaintiff,
                                                    DEFENDANT OTONIEL CARDENAS-
13   vs.                                            TORRES’S MOTION TO INSPECT AND
                                                    COPY PASSPORT
14   OTONIEL CARDENAS-TORRES,
15                    Defendant.
16
17          Defendant Otoniel Cardenas-Torres, by and through his counsel of record, Assistant
18   Federal Defender Erin Snider, hereby moves this Court for an order permitting defense counsel
19   and/or an investigator with the Office of the Federal Defender to inspect and copy Mr. Cardenas-
20   Torres’s passport, which is currently in the possession of the Clerk of Court.
21          Mr. Cardenas-Torres is filing a motion to dismiss based on a violation of his Sixth
22   Amendment right to a speedy trial. In the motion, Mr. Cardenas-Torres will argue that the
23   government—who bears the burden of bringing a defendant to trial in a timely manner—had
24   ample opportunity to arrest him and bring him to court between June 30, 2016, when the grand
25   jury returned the Indictment, and October 31, 2018, the date of his arrest. As part of that
26   argument, the defense intends to point to Mr. Cardenas-Torres’s international travel during that
27   period, as evidence that the government did not properly input the June 30, 2016 warrant into the
28   appropriate law enforcement databases. Defense counsel believes that Mr. Cardenas-Torres’s
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 1   passport, which is currently in the possession of the Clerk of Court in accordance with the
 2   conditions of Mr. Cardenas-Torres’s pretrial release, see Docket No. 16, will aid him in making
 3   this argument.
 4            Accordingly, Mr. Cardenas-Torres moves the Court for an order directing the Clerk of
 5   Court to allow defense counsel and/or an investigator with the Office of the Federal Defender to
 6   inspect and copy Mr. Cardenas-Torres’s passport.
 7
 8                                                Respectfully submitted,
 9                                                HEATHER E. WILLIAMS
                                                  Federal Defender
10
11   Date: April 8, 2019                          /s/ Erin Snider
                                                  ERIN SNIDER
12                                                Assistant Federal Defender
                                                  Attorney for Defendant
13                                                OTONIEL CARDENAS-TORRES
14
15
16                                              ORDER
17            IT IS SO ORDERED. The Clerk of Court is hereby directed to permit defense counsel
18   and/or an investigator with the Office of the Federal Defender to inspect and copy Otoniel
19   Cardenas-Torres’s passport.
20
21   IT IS SO ORDERED.
22   Dated:     April 8, 2019
23                                                     UNITED STATES MAGISTRATE JUDGE

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